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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1
     DENISE CARLON, ESQUIRE                             Order Filed on February 28, 2019
     KML LAW GROUP, P.C.                                            by Clerk
                                                            U.S. Bankruptcy Court
     Sentry Office Plz                                       District of New Jersey
     216 Haddon Ave.
     Suite 406
     Westmont, NJ 08018
     (215)627-1322
     dcarlon@kmllawgroup.com
     Attorneys for Secured Creditor
     THE BANK OF NEW YORK MELLON FKA THE
     BANK OF NEW YORK AS SUCCESSOR
     INDENTURE TRUSTEE TO JPMORGAN CHASE
     BANK, N.A., AS INDENTURE TRUSTEE FOR
     THE CWABS REVOLVING HOME EQUITY LOAN
     ASSET BACKED NOTES, SERIES 2004-K
     In Re:                               Case No.: 18-32402 MBK
                                          Adv. No.:
     Laura Cortese,                       Hearing Date: 1/22/19 @10:00 a.m.

     Debtor.                                                  Judge: Michael B. Kaplan


          ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO DEBTOR’S
                              CHAPTER 13 PLAN

     The relief set forth on the following pages, numbered two (2) through three (3) is hereby
     ORDERED




DATED: February 28, 2019
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                      DEBTOR’S CHAPTER 13 PLAN

       This matter having been brought before the Court by KML Law Group, P.C., attorneys
for Secured Creditor, THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW
YORK AS SUCCESSOR INDENTURE TRUSTEE TO JPMORGAN CHASE BANK, N.A.,
AS INDENTURE TRUSTEE FOR THE CWABS REVOLVING HOME EQUITY LOAN
ASSET BACKED NOTES, SERIES 2004-K, holder of a mortgage on real property located 278
Freemont Avenue, Seaside Heights, NJ, 08751, Denise Carlon appearing, by way of objection to
the confirmation of Debtor’s Chapter 13 Plan, and this Court having considered the
representations of attorneys for Secured Creditor and Brian W. Hofmeister, Esquire, attorney for
Debtor, Laura Cortese, and for good cause having been shown;
       It ORDERED, ADJUDGED and DECREED that Bank of New York Mellon’s claim
shall be allowed as a non-priority general unsecured claim and shall be paid as such in
accordance with the Debtors’ Chapter 13 Plan; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that the avoidance of Bank
of New York Mellon’s second lien is contingent upon the Debtors’ completion of the Chapter 13
plan and the Debtors’ receipt of a Chapter 13 discharge; and
       It is FURTHER ORDERED, ADJUDGED and DECREED Bank of New York
Mellon shall retain its lien for the full amount due under the subject loan in the event of either
the dismissal of the Debtors’ Chapter 13 case or the conversion of the Debtors’ Chapter 13 case
to any other Chapter under the United States Bankruptcy Code; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that each party shall bear
their own attorney’s fees and costs incurred in the present case number; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that in the event that the
property is destroyed or damaged, pursuant to the mortgage, Bank of New York Mellon is
entitled to its full rights as a loss payee with respect to the insurance proceeds and has a security
interest in such proceeds up to the entire balance due on the mortgage; and
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       It is FURTHER ORDERED, ADJUDGED and DECREED that in the event that any
entity, including the holder of the first lien on the Subject Property forecloses on its security
interest and extinguishes Creditor’s lien prior to the Debtors’ completion of the Chapter 13 plan,
Bank of New York Mellon’s lien shall attach to the surplus proceeds of the foreclosure sale for
the full amount of the subject loan balance at the time of the sale; and
       It is FURTHER ORDERED, ADJUDGED and DECREED Bank of New York
Mellon shall retain its lien for the full amount due under the subject loan should the subject
property be sold, or should a refinance take place prior the Chapter 13 plan completion and entry
of a Discharge; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that Secured Creditor’s
objection to confirmation is hereby resolved.
